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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS



NUANCE COMMUNICATIONS, INC.,

                 Plaintiff and Counterclaim
                 Defendant,
                                                  Case No. 1:19-CV-11438-PBS

       v.                                         JURY TRIAL DEMANDED

OMILIA NATURAL LANGUAGE
SOLUTIONS, LTD.,

                 Defendant and Counterclaim
                 Plaintiff.



   OMILIA NATURAL LANGUAGE SOLUTIONS LTD.’S MOTION FOR
PARTIAL SUMMARY JUDGEMENT FOR THE INVALIDITY OF U.S. PATENT
                        6,999,925

       Defendant and Counterclaim Plaintiff Omilia Natural Language Solutions, Ltd.

(“Omilia”) respectfully moves the Court for summary judgment that remaining asserted

claims of U.S. Patent 6,999,925, claims 1, 14 and 27, are invalid for Obviousness-Type

Double Patenting.

       The grounds for this Motion are fully set forth in the accompanying Memorandum

of Law; Local Rule 56.1 Statement of Material Facts; Declaration of Dr. Jordan Cohen

and exhibits thereto; and Declaration of Hallie E. Kiernan and exhibits thereto, filed this

date in support of this motion.

                            REQUEST FOR ORAL ARGUMENT

       Pursuant to Local Rule 7.1(d), Omilia believes that oral argument may assist the

Court and requests oral argument on this motion.



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Dated: November 25, 2020              Respectfully Submitted,

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                      LOCAL RULE 7.1(a)(2) CERTIFICATION

        I hereby certify that counsel for Omilia and Nuance conferred in good faith on

November 24, 2020 about this motion but are unable to resolve or narrow the issues

raised in this motion at this time.


                                             /s/ Daniel S. Sternberg
                                             Daniel S. Sternberg




                              CERTIFICATE OF SERVICE

        I hereby certify that counsel of record who are deemed to have consented to

electronic service are being served on November 25, 2020, with a copy of this document

via the Court’s CM/ECF system per Local Rule CV-5.4 (c).


                                             /s/ Daniel S. Sternberg
                                             Daniel S. Sternberg




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